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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


 IMEG CORP.

       Plaintiff/Counter-Defendant
                                              No. 20-cv-03316
       v.
                                              Judge John F. Kness
 ATLANTIC SPECIALTY INSURANCE
 COMPANY and ONEBEACON
 INSURANCE GROUP, LTD.,

       Defendants/Counter-Plaintiff.



                    MEMORANDUM OPINION AND ORDER

      After Plaintiff IMEG Corp. (“IMEG”) was formed following a merger, it

discovered that one of its predecessor companies had potentially violated federal and

state laws. IMEG voluntarily reported these potential violations to the federal

government and the State of California. IMEG’s disclosure to the federal government

eventually led to a settlement. IMEG then sought insurance coverage for these

disclosures from its insurer, Defendant Atlantic Specialty Insurance Company

(“ASIC”), but ASIC has failed to provide the requested coverage. This led IMEG to

file a three-count complaint seeking declarations that ASIC owes IMEG a duty to

defend and indemnify against the disclosures. ASIC responded with an eight-count

counterclaim seeking various declarations that it is not obligated to provide coverage.

IMEG moved for judgment on the pleadings as to all counts. (Dkt. 28.) ASIC moved
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for judgment on the pleadings as to Counts I, III, VI, and VIII of the counterclaim.

(Dkt. 26.)

        For the reasons that follow, IMEG’s motion for judgment on the pleadings (Dkt.

28) is denied in its entirety. ASIC’s motion for judgment on the pleadings (Dkt. 26) is

granted as to Counts I, VI, and VIII. ASIC’s motion for judgment on the pleadings is

granted in part and denied in part as to Count III (granted as to the California

Disclosure but denied as to the Federal Disclosure). ASIC’s remaining counterclaims

(Counts II, IV, V, and VII) are dismissed as moot. IMEG is not entitled to coverage

from ASIC under the 2017 Policy for any Claims arising out of the California

Disclosure or Federal Disclosure.

I.      BACKGROUND

        A.    IMEG’s Internal Investigations.

        In 2015, engineering firms KJWW, Inc. (“KJWW”) and TTG Corporation

(“TTG”) merged to form IMEG. (Dkt. 1-2 ¶ 19; Dkt. 22 ¶ 2.) That combination (the

“Merger”) was finalized and effective on January 1, 2017. (Dkt. 24-2 at 6.) In fall 2016,

in anticipation of the upcoming Merger, IMEG’s General Counsel Karen Guest began

reviewing TTG’s administrative operations. (Id.; Dkt. 17 ¶ 21.)

        As Guest was reviewing those operations, she uncovered potential

irregularities in the relationship between TTG and a company called Schwab

Engineering, Inc. (“Schwab”). (Dkt. 17 ¶ 22; Dkt. 22 ¶ 16.) Schwab was a veteran-

owned company formed to obtain federal contracts set aside for service disabled

veteran-owned small business entities (“SDVOSB”). (Dkt. 17 ¶¶ 23–24; Dkt. 22 ¶ 3.)




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Guest discovered that former TTG executive Sunil Patel was involved in a “rent-a-

vet” scheme (the “Scheme”) with Schwab. (Dkt. 24-2 at 6.) As part of the Scheme,

Schwab would compete for federal contracts set aside for SDVOSB entities and then

would sub-contract large portions of the federal contracts it obtained to TTG. (Id.)

The Scheme, which began in 2009, effectively “rented” Schwab’s veteran-owned

status to TTG so that TTG could obtain otherwise unavailable contracts. (Id.; Dkt. 17

¶ 25; Dkt. 22 ¶ 3.)

      To investigate the Scheme, IMEG hired outside counsel; that attorney then

presented recommendations to Guest and IMEG’s officers in January 2017. (Dkt. 22

¶ 53; Dkt. 24-2 at 23–24.) In February 2017, Patel was terminated, allegedly due to

his role in the Scheme. (Dkt. 22 ¶54; Dkt. 24-2 at 23.) In May 2017, IMEG then

authorized the attorney to analyze IMEG’s potential liabilities and duties arising

from the Scheme. (Dkt. 24-2 at 23.) The attorney produced a report on his findings,

concluding that the Scheme likely violated federal laws and regulations, in particular

the False Claims Act (the “FCA”). (Id.; Dkt. 22 ¶ 55.) IMEG hired a second law firm

to review these findings. (Dkt. 24-2 at 23–24; Dkt. 22 ¶¶ 18–19.) This second law firm

did not conduct its own investigation but ultimately agreed with the findings of the

first attorney in a report delivered to IMEG in October 2017. (Dkt. 24-2 at 23–24.) In

November 2017, IMEG engaged a third law firm that specialized in government

disclosures to assist with disclosing the potential violations to the appropriate

governmental officials. (ID. at 24.)




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       B.       The 2017 and 2018 Policies and Corresponding Warranty Letter.

       Defendant ASIC1 is a company “engaged in the business of underwriting and

issuing insurance policies.” (Dkt. 17 ¶ 3.) In late 2017, ASIC issued an insurance

policy to IMEG with a policy period of September 30, 2017 through September 30,

2018 (the “2017 Policy”). (Id. ¶¶ 6, 29; Dkt. 1-2 at 123.) ASIC issued IMEG another

policy the following year, with a policy period of September 30, 2018 through

September 30, 2019.2 (Dkt. 22 ¶ 1.)

       On September 27, 2017, before the 2017 Policy was issued but after the

internal investigations of the Scheme had taken place, IMEG signed a warranty letter

(the “Warranty Letter”). (Dkt. 17-12.) In the Warranty Letter, IMEG acknowledged

that ASIC issued the 2017 Policy in reliance on IMEG’s statement that IMEG was

not “aware of any claim that may fall within the scope of the [2017] Policy or any fact,

circumstance, situation, transaction, event, act, error, or omission which they have

reason to believe may or could reasonably be foreseen to give right to a claim that

may fall within the scope of the [2017] Policy.” (Id.) IMEG and ASIC agreed that any

such claim or set of circumstances would be excluded from coverage under the 2017

Policy. (Id.)




   1 Defendant OneBeacon Insurance Group, Ltd. was initially named as a Defendant in this

lawsuit, but IMEG agreed to dismiss Defendant OneBeacon in exchange for ASIC’s
agreement that any of its affiliates would be bound by the judgment entered in this case.
(Dkt. 15; Dkt. 17 ¶ 6 n.2.)
   2 The following discussion and analysis in this Section reference only the 2017 Policy, but

this discussion is equally applicable to the 2018 Policy, which differs from the 2017 Policy
only in that it covers a different policy period.


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       The 2017 Policy identifies IMEG as the “Named Organization” with a “Policy

Period” as stated above. (Dkt. 17 ¶¶ 6, 29.) An “Organization” under the 2017 Policy

includes the Named Organization (IMEG) and any “Subsidiary,” which includes any

entity over which the Named Organization has direct or indirect “Management

Control.” (Dkt. 1-2 at 64–65.) “Management Control” means (1) owning more than

fifty percent of the voting, appointment, or designation power for the selection of the

Board of Directors; or (2) having the right to elect, appoint, or designate a majority of

the Board of Directors. (Id. at 64.)

       Coverage is available under the 2017 Policy if there is a Claim, which can be

either an “Insured Person Claim” or an “Organization Claim.” (Dkt 1-2 at 77.) An

“Organization Claim” includes “a written demand for monetary, non-monetary or

injunctive relief” against the Organization for a “Wrongful Act.” (Id. at 80.) An

“Insured Person Claim” uses the same language, but for an Insured Person. (Id. at

78.) A “Wrongful Act” is defined as “any actual or alleged act, error, omission,

misstatement, misleading statement or breach of duty by the Organization.” (Id. at

82.)

       “Related Claims” in the 2017 Policy include “all Claims for Wrongful Acts

based upon, arising out of, directly or indirectly resulting from, in consequence of, or

in any way involving the same or related facts, circumstances, situations,

transactions or events or the same or related series of facts, circumstances, situations,

transactions, whether related logically, causally or in any other way.” (Id. at 65.) All




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Related Claims, whenever made, are deemed a single Claim made when the earliest

of such Related Claims was first made. (Id. at 120.)

      Under the 2017 Policy, ASIC agreed to pay, on behalf of the Organization, any

“Loss from any Organization Claim first made against the Organization during the

Policy Period . . . for a Wrongful Act . . . .” (Id. at 76.) “Loss” includes monetary

damages, judgments, settlements, and pre- and post-judgment interest. (Id. at 79.)

“Loss” does not include civil or criminal fines and penalties, taxes, or any other

amount uninsurable under applicable law. (Id.) A consent condition (the “Consent

Condition”) in the 2017 Policy provides that no insured may “admit any liability for

any Claim, settle or offer to settle any Claim or incur any Defense Expenses” without

ASIC’s prior written consent. (Id. at 58.)

      C.     The Disclosures.

      On November 12, 2017, IMEG self-reported potential violations of federal law

and regulations posed by the Scheme (the “Federal Disclosure”) to the Department of

Veterans Affairs and the U.S. Small Business Administration (collectively, “the

Government”). (Dkt. 17 ¶ 27; Dkt. 24-1.) On May 14, 2018, IMEG submitted to the

Government a report that summarized IMEG’s internal investigations and TTG’s

potential violations. (Dkt. 22 ¶ 34; Dkt. 24-2.)

      Over the course of its internal investigations, IMEG discovered that the

Scheme may have affected contracts between Schwab and the State of California.

(Dkt. 22 ¶ 31.) Accordingly, on June 13, 2018, IMEG self-reported potential violations

of California law and regulations posed by the Scheme (the “California Disclosure”)




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to the Supervising Deputy Attorney General for the California Department of Justice.

(Id. ¶¶ 30–32.)

       On November 28, 2017, IMEG notified ASIC of the Federal Disclosure. (Dkt.

17 ¶ 19; Dkt. 50 at 5–9.) On January 22, 2018, ASIC informed IMEG that it

considered this notice of the Federal Disclosure to be a “notice of circumstances” and

not a Claim under the 2017 Policy. (Dkt. 22 ¶ 21; Dkt. 17-3.) ASIC thus denied

coverage, reserved all rights and defenses under the 2017 Policy, and requested that

ASIC be immediately informed if the Federal Disclosure developed into a Claim. (Id.)

On September 28, 2018, IMEG submitted another notice to ASIC related to the

Federal Disclosure. (Dkt. 17-4; Dkt. 22 ¶ 22.) That notice detailed the Scheme but did

not detail any written demand for monetary, non-monetary, or injunctive relief. (Dkt.

22 ¶ 23.) On November 2, 2018, ASIC reiterated its position denying coverage, stating

that “ASIC has previously acknowledged and again acknowledges receipt of the

Reported Matter as a [potential claim.]” (Dkt. 17-5; Dkt. 22 ¶ 24.)

       In early 2019, IMEG notified ASIC of the California Disclosure.3 (Dkt. 22 ¶ 33;

Dkt. 17-9 at 2.)




   3 The exact date that IMEG notified ASIC of the California Disclosure is disputed. ASIC

states that it received notice on February 5, 2019 (see Dkt. 17 ¶ 33), which IMEG denies (see
Dkt. 22 ¶ 33.) In any case, because ASIC has presented evidence that it corresponded with
an IMEG representative in April 2019 regarding the California Disclosure, it is clear that
IMEG sent notice of the California Disclosure sometime in early 2019. (See Dkt. 17-9.)


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      D.     The Settlement.

      In December 2018, about one year after receiving the Federal Disclosure4, the

Government offered IMEG a settlement of the FCA violations for $5.27 million (the

“Settlement”). (Dkt. 17 ¶ 29; Dkt. 22 ¶ 29.) On December 14, 2018, IMEG sent a letter

to ASIC requesting permission to enter into the proposed Federal Settlement. (Dkt.

17 ¶ 23; Dkt. 17-6; Dkt. 22 ¶ 60.) On December 21, 2018, ASIC denied IMEG’s request

and advised IMEG that it would not provide coverage for the Federal Settlement

because IMEG had violated the 2017 Policy when it engaged in settlement

discussions with the Government without involving ASIC or seeking ASIC’s consent.

(Dkt. 17 ¶ 24; Dkt. 22 ¶ 29; Dkt. 17-7.) ASIC noted that IMEG “has not sought, and

is not presently seeking, a defense from ASIC of any kind,” and requested IMEG to

“please so advise” if that understanding was incorrect. (Dkt. 17-7.) That same day,

IMEG agreed to and entered into the $5.27 million Settlement with the Federal

Government. (Dkt. 17 ¶¶ 29–30.)

      On April 24, 2019, ASIC sent a letter to IMEG advising that it would not

provide coverage for the Settlement. (Dkt. 22 ¶ 36; Dkt. 17-8.) ASIC sent another

letter to IMEG on the same day confirming receipt of the California Disclosure and

advising that ASIC considered it to be a “notice of circumstances” under the 2018




   4 IMEG alleges that the Federal Government launched an investigation into the Scheme

after receiving the Federal Disclosure. (Dkt. 1-2 ¶ 28.) But ASIC does not admit to this,
alleging instead that it lacks knowledge or information about whether such an investigation
happened. (Dkt. 17 ¶ 28.) Although it is possible that an investigation happened, because
this fact is disputed, and because none of the pleadings or attachments support that the
Federal Government pursued an investigation, the Court will not assume that such an
investigation occurred.


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Policy. (Dkt. 22 ¶ 37; Dkt. 17-9.) ASIC requested that IMEG advise ASIC if the

California Disclosure developed into a Claim. (Id.) On August 16, 2019, IMEG

disputed ASIC’s denial of coverage, but ASIC maintained its position denying

coverage. (Dkt. 22 ¶¶ 38–39; Dkt. 17-10; Dkt. 17-11.)

       E.      Procedural History.

       On March 27, 2020, IMEG filed a complaint against ASIC in the Circuit Court

of Cook County, Illinois for a declaratory judgment that ASIC was required to provide

coverage for the Federal Settlement. (Dkt. 1-2 at 3–14.) ASIC timely removed the

action to this Court on the basis of diversity jurisdiction.5 See 28 U.S.C. § 1332. (Dkt.

1 at 2.)




   5 This topic requires some elaboration. As explained, supra n.1, Defendant OneBeacon

Insurance Group, Ltd. was initially named as a Defendant in this lawsuit but was later
dismissed by agreement. That approach is in some tension with Seventh Circuit precedent,
which explains that Rule 41(a) of the Federal Rules of Civil Procedure “does not speak of
dismissing one claim in a suit; it speaks of dismissing ‘an action’—which is to say, the whole
case.” Berthold Types Ltd. v. Adobe Sys. Inc., 242 F.3d 772, 777 (7th Cir. 2001). In view of the
outcome described by this ruling, however, and that the dismissal of OneBeacon was agreed,
this procedural variance by the parties does not require a remedy. Of more pertinence to the
issue of diversity jurisdiction is that the Notice of Removal (Dkt. 1) did not, given the parties’
insouciance toward OneBeacon’s role in the case, describe that entity’s citizenship. It is a
removing party’s burden to show the existence of diversity jurisdiction at the time of removal,
Oshana v. Coca-Cola Co., 472 F.3d 506, 510–11 (7th Cir. 2006), but ASIC’s Notice of Removal
is silent as to both the citizenship of OneBeacon as well as its principal place of business. But
publicly-available records of which the Court takes judicial notice (including filings before
the United States Securities and Exchange Commission) reflect that OneBeacon (which was
later absorbed by another entity) was a Bermuda entity with its principal place of business
in Minnesota. In addition, Plaintiff’s removed complaint describes OneBeacon as a Minnesota
entity. (Dkt. 1-2 at 4 ¶ 4.) Accordingly, the Court is confident that its diversity jurisdiction
was secure on the day the case was removed. Cf. Gottlieb v. Westin Hotel Co., 990 F.2d 323,
327 (7th Cir. 1993) (diversity jurisdiction “cannot be destroyed” by fraudulent joinder of
nondiverse parties; fraudulent joinder can occur “when there is no possibility that a plaintiff
can state a cause of action against nondiverse defendants in state court[.]”).


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      IMEG’s three-count complaint seeks declarations that under the 2017 Policy:

(1) ASIC owes IMEG a duty to defend with respect to the Federal Disclosure; (2) ASIC

owes IMEG a duty to indemnify the Settlement; and (3) ASIC is estopped to assert

any policy defenses because it breached its duty to defend. (Dkt. 1-2 ¶¶ 32–49.) IMEG

also pursues coverage for the California Disclosure under the 2018 Policy, but it does

not seek a declaration in that regard in its complaint. (See Dkt. 28.) IMEG moved for

judgment on the pleadings on all three counts. (Id.)

      ASIC answered, raised six affirmative defenses, and brought an eight-count

counterclaim in response. (Dkt. 17.) ASIC’s counterclaim seeks declarations that:

(1) the Warranty Letter precludes coverage; (2) IMEG’s failure to seek ASIC’s consent

to the Settlement precludes coverage of the Settlement; (3) the California Disclosure

is not a claim; (4) TTG is not an Organization under the 2017 Policy; (5) the alleged

Wrongful Acts were committed before the Merger and therefore not covered under

the 2017 Policy; (6) there was no insurable Loss under the 2017 Policy; (7) ASIC is

entitled to an allocation; and (8) there is no coverage under the 2018 Policy. (Id.

¶¶ 48–110.) ASIC moved for judgment on the pleadings as to Counts I, III, VI, and

VIII of the counterclaim. (Dkt. 26).

II.   LEGAL STANDARD

      Rule 12(c) of the Federal Rules of Civil Procedure permits parties to move for

judgment on the pleadings after pleadings are closed. Fed. R. Civ. P. 12(c). A motion

for judgment on the pleadings is reviewed under the same standard as a motion to

dismiss under Rule 12(b)(6). Schimandle v. Dekalb Cnty. Sheriff’s Off., 114 F.4th 648,




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654 (7th Cir. 2024). To survive a 12(c) motion, the challenged pleading must state

“sufficient factual matter, accepted as true, ‘to state a claim to relief that is plausible

on its face.’ ” Ingenus Pharms., LLC v. Nexus Pharms., Inc., No. 22-cv-2868, 2024 WL

3594437, at *5 (N.D. Ill. July 31, 2024) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)); see also Gill v. City of Milwaukee, 850 F.3d 335, 339 (7th Cir. 2017). In

deciding Rule 12(c) motions, the pleadings include the complaint, answer,

counterclaims, and any attached written instruments. Citizens Ins. Co. v. Wynndalco

Enters., LLC, 70 F.4th 987, 995 (7th Cir. 2023). Allegations must be construed in the

light most favorable to the nonmoving party. Id. The Court will enter judgment on

the pleadings only if “it is beyond doubt that the nonmoving party cannot prove facts

sufficient to supports its position and that the movant is entitled to relief.” Id.

       Because this case is before the Court on diversity jurisdiction, Illinois law

governs the substantive issues. Travelers Prop. Cas. Co. v. Benchmark Ins. Co., No.

22-cv-2308, 2024 WL 756945, at *8 (N.D. Ill. Feb. 23, 2024) (citing Davis v. G.N.

Mortg. Corp., 396 F.3d 869, 876 (7th Cir. 2005)). Under Illinois law, an “insurance

policy is a contract, and the general rules governing the interpretation of other types

of contracts also govern the interpretation of insurance policies.” Artisan & Truckers

Cas. Co. v. Burlington Insurance Co., 90 F.4th 893, 896 (7th Cir. 2024) (quoting

Crescent Plaza Hotel Owner, L.P. v. ZurichAm. Ins., 20 F.4th 303, 308 (7th Cir. 2021)).

The Court’s primary task in construing an insurance policy is to give effect to the

parties’ intentions as expressed in the policy language, and “apply the terms as

written if the policy is unambiguous.” Id. Unambiguous terms are to be given their




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plain and ordinary meaning. Auto-Owners Ins. Co. v. Munroe, 614 F.3d 322, 324 (7th

Cir. 2010). Ambiguous language must be construed against the insurer if the

ambiguity cannot be resolved after application of canons of interpretation. Artisan &

Truckers Cas. Co., 90 F.4th at 896. To properly give effect to the parties’ intentions,

the Court must “construe the policy as a whole, taking into account the type of

insurance for which the parties have contracted, the risks undertaken and purchased,

the subject matter that is insured and the purposes of the entire contract. Travelers

Prop. Cas. Co., 2024 WL 756945, at *8.

III.   DISCUSSION

       A.    Count VIII of the Counterclaim: There is No Coverage Under the
             2018 Policy.

       Count VIII of ASIC’s counterclaim alleges that the 2018 Policy is not

applicable to either the Federal Disclosure or the California Disclosure. (Dkt. 17

¶¶ 102–10.) ASIC seeks a declaration of the same. (Dkt. 27 at 12–13.)

       IMEG’s complaint does not explicitly assert that the 2018 Policy applies to

either disclosure. But ASIC seeks this declaration because IMEG, in its answer to

the counterclaim, suggested that it was seeking “all coverage available to it” under

the 2017 Policy and 2018 Policy. (Id. at 12; Dkt. 22 ¶ 40.) IMEG explains in its

response that the California Disclosure should be covered as a separate Claim under

the 2018 Policy. (Dkt. 33 at 4.) In the alternative, IMEG argues that both the Federal

Disclosure and the California Disclosure should be covered under the 2017 Policy as

Related Claims. (Id.) ASIC maintains that the 2017 Policy is the only policy

applicable to this case, and that there is no potential coverage under the 2018 Policy



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at all because the two Disclosures are Related Claims under the 2017 Policy. (Dkt.

27 at 13.)

      The parties do not dispute that ASIC first received notice of the Federal

Disclosure on November 28, 2017, during the 2017 Policy Period. (See Dkt. 22 ¶ 20.)

Accordingly, the 2017 Policy applies to the Federal Disclosure. The question is then

whether the California Disclosure, which was reported in 2018, is covered as a

separate claim under the 2018 Policy, or as a Related Claim with the Federal

Disclosure under the 2017 Policy.

      The 2017 Policy states that, when IMEG notifies ASIC during the Policy

Period of a Wrongful Act that may subsequently give rise to a Claim, then any

subsequent Claim arising out of that Wrongful Act shall be treated as if it had been

first made during the Policy Period. (Dkt. 1-2 at 91; Dkt. 22 ¶ 103.) All Related

Claims, which include all Claims for Wrongful Acts that involve the same or related

facts, circumstances, situations, and transactions, are treated as a single Claim made

when the first such Related Claim was made. (Dkt. 17-2 at 13, 39.) Accordingly, if

the California Disclosure is considered a Related Claim to the Federal Disclosure,

then it is treated as having been made at the same time the Federal Disclosure was

made—that is, during the 2017 Policy Period.

      IMEG argues that the California Disclosure should be a separate Claim under

the 2018 Policy because it involved different TTG projects, different statute

violations, and different damages. (Dkt. 33 at 4.) But, at bottom, the California

Disclosure and the Federal Disclosure involve the same Wrongful Act: the Scheme.




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Both Disclosures arise out of the same facts and circumstances of the operation of

the Scheme, which IMEG admits. (See Dkt. 22 ¶ 105.) As a result, the California

Disclosure and Federal Disclosure are Related Claims deemed to be a single Claim

made on November 28, 2017. Accordingly, there is no coverage under the 2018 Policy

for either the Federal Disclosure or the California Disclosure. ASIC is entitled to

judgment as to Count VIII of the counterclaim.

       B.     Count III of the Counterclaim: The California Disclosure Cannot
              Be a Claim, But the Federal Disclosure Can Be a Claim.

       Count III of ASIC’s counterclaim seeks a declaratory judgment that neither

the California Disclosure nor the Federal Disclosure is a Claim under the 2017

Policy. (Dkt. 17 ¶¶ 69–76.)6 ASIC argues that because neither Disclosure is a Claim,

IMEG is not entitled to coverage.

       Under the 2017 Policy, coverage is triggered if IMEG makes a Claim. (See Dkt.

1-2 at 76.) A Claim under the 2017 Policy can be either an “Insured Person Claim”

or an “Organization Claim.” (Dkt. 1-2 at 77.) In the following analysis, the Court first

considers whether the California Disclosure and Federal Disclosure can be an

Insured Person Claim, and then whether either can be an Organization Claim.




   6   Count III of ASIC’s Counterclaim explicitly seeks a declaratory judgment only for the
California Disclosure. But ASIC’s motion for judgment on the pleadings seeks a judgment for
both the California Disclosure and the Federal Disclosure, arguing that neither is a Claim
under the 2017 Policy. (Dkt. 27 at 16–19.) In its Response, IMEG does not dispute ASIC’s
added request for a declaration on the Federal Disclosure. (See Dkt. 33 at12–14.) Accordingly,
the Court will discuss in this Section whether both Disclosures qualify as Claims under the
2017 Policy.


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             1.    Insured Person Claim.

      An Insured Person Claim is a “written demand for” or a judicial proceeding for

monetary relief against an Insured Person for a Wrongful Act. (Dkt. 1-2 at 40, 78–

79.) ASIC argues that neither the California Disclosure nor the Federal Disclosure is

an Insured Person Claim because neither was a demand or a proceeding against an

Insured Person. (Dkt. 27 at 17–18.) ASIC contends that the Disclosures were exactly

that: disclosures, and nothing more. (Id.) IMEG does not address whether the

Disclosures constitute Insured Person Claims in its Response (see Dkt. 33) or its

motion (see Dkt. 28). Accordingly, the Court interprets IMEG’s silence as a concession

that neither the California Disclosure nor the Federal Disclosure are Insured Person

Claims. IMEG is therefore not entitled to coverage for the California Disclosure or

the Federal Disclosure to the extent IMEG argues they are Insured Person Claims.

             2.    Organization Claim.

      Coverage is triggered if there is an “Organization Claim.” Under the 2017

Policy, an Organization Claim is a

      (1)    a written demand for monetary, non-monetary or injunctive
             relief . . . ; or

      (2)    a civil, criminal, administrative, regulatory or arbitration
             proceeding for monetary, non-monetary or injunctive relief
             commenced by:

             (a)   the service of a complaint or similar pleading; . . . or

             (c)   the filing of a notice of charges, formal investigative order
                   or similar document,

      against the Organization for a Wrongful Act; . . . .




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(Dkt. 1-2 at 80.)

                    (a)   The California Disclosure is Not an Organization Claim.

      IMEG argues that the California Disclosure is an Organization Claim because

“the State of California launched an investigation of IMEG in response to the

California Disclosure.” (Dkt. 29 at 12.) IMEG provides no additional support for this

statement. Indeed, the pleadings do not refer to any investigation by any other entity

than IMEG when it conducted its internal investigation. Nor can the Court find

support anywhere in the pleadings that the California government made a non-

monetary or monetary demand for relief. In any event, IMEG does not argue that

California made any non-monetary or monetary demand for relief. On the contrary,

the pleadings show that the California government was informed of potential

violations through the California Disclosure, but they do not support that anything

further happened. (See Dkt. 24-3.) Accordingly, the California Disclosure cannot

constitute an Organization Claim under the 2017 Policy subject to coverage by ASIC.

ASIC is entitled to judgment for Count III of the counterclaim as to the California

Disclosure.

                    (b)   IMEG Has Shown That It Received a Written Demand for
                          Monetary Relief for the Federal Disclosure.

      IMEG argues that the Federal Disclosure is an Organization Claim under the

terms of the 2017 Policy, thus triggering ASIC’s duty to defend and duty to indemnify,

because the Government gave IMEG a written demand for non-monetary and

monetary relief. As to the non-monetary demand, IMEG argues that the Government

launched an investigation into IMEG, which included “numerous demands for



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information and relief,” and that the Government “repeatedly threatened IMEG with

litigation if it failed to comply” with those demands. (Dkt. 37 at 2.)7 As to a monetary

demand, IMEG states that it received a demand for monetary relief from the

Government when it received the proposed Settlement. (Dkt. 29 at 13.) IMEG thus

concludes that these non-monetary and monetary demands for relief from the

Government make the Federal Disclosure an Organization Claim.

      ASIC responds that the Federal Disclosure cannot be an Organization Claim

for several reasons. First, ASIC argues that IMEG did not cite to anything in the

record to support that IMEG received non-monetary demands for information from

the Government. (Dkt. 32 at 5.) Second, ASIC argues that the proposed settlement

from the Government was not a monetary demand for relief because it was “not the

result of a demand for relief” but instead “reflected the consummation of a process,

and discussions, that IMEG had with the Government (without ASIC’s knowledge

and consent) following” the Disclosures. (Id. at 5–6.) An agreed-upon settlement,

therefore, cannot constitute a “demand,” according to ASIC. (See Dkt. 41 at 3.) In

sum, ASIC argues that IMEG cannot show that it received any “written demand for

relief,” which means that there cannot be an Organization Claim. (See id. at 6–7.)




   7 IMEG does not appear to dispute ASIC’s claim that nothing is found in the record to

support these purported threats and “numerous demands for information and relief.” Instead,
IMEG contends that ASIC pointing out the lack of records is “taking advantage of the
procedural posture of th[e] case.” (Dkt. 37 at 2.) IMEG is confident that discovery would
reveal what ASIC cannot know because it did not participate in the investigation—that the
Government “repeatedly requested information or made written demands on IMEG during
the course of the investigation.” (Id. at 3.)


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        At this stage, the Court may analyze only the pleadings8 to determine whether

a written demand for relief was made. First, the complaint alleges that the

Government launched an investigation into IMEG in response to the Federal

Disclosure and, after the investigation concluded, presented IMEG with a proposed

$5.27 million settlement. (Dkt. 1-2 ¶¶ 28–29.) Next, the counterclaim acknowledges

the existence of the settlement offer. (See, e.g., Dkt. 17 ¶ 4.) Various letters attached

as exhibits to the pleadings support that IMEG self-disclosed the Scheme to the

Government, IMEG received a settlement offer from the Government, and ASIC

refused to provide coverage for the Settlement:

    •   A January 22, 2018 letter from ASIC acknowledges its awareness that IMEG

        had self-disclosed the Scheme to the Government. (Dkt. 17-3 at 2.)

    •   A letter dated November 2, 2018 from ASIC to Guest states, “We understand

        that the United States Attorneys’ Office contacted IMEG regarding potential

        violations, but no formal legal proceedings have been initiated by the

        government with respect to IMEG.” (Dkt. 1-2 at 123; Dkt. 17-5 at 3.)

    •   A letter dated December 14, 2018 from IMEG’s attorney states that “IMEG

        has been provided with a proposed settlement agreement by the

        [Government]” and requests ASIC’s consent to enter into the settlement. (Dkt.

        1-2 at 128; Dkt. 17-6 at 2.)


   8 Rule 12(c) permits a judgment based on the pleadings alone, a category that includes

(1) the complaint, (2) the answer, (3) counterclaims, and (4) any written instruments
attached as exhibits. N. Ind. Gun & Outdoor Shows, Inc. v. City of South Bend, 163 F.3d 449,
452 (7th Cir. 1998) (citing Fed. R. Civ. P. 10(c)). In addition, the Court here considers the
parties’ stipulation, which incorporates several additional exhibits as attachments to the
Counterclaim. (Dkt. 24.) No other documents will be considered.


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   •   A letter dated December 21, 2018 from ASIC’s attorney acknowledges the

       settlement offer but refuses to approve it without further information. (Dkt.

       1-2 at 129–30; Dkt. 17-7 at 2–3.)

   •   A letter dated April 24, 2019 from ASIC’s attorney reiterates refusal to provide

       coverage for the settlement offer because ASIC did not provide prior approval.

       (Dkt. 1-2 at 133; Dkt. 17-8 at 3.)

   •   A letter dated August 16, 2019 from IMEG’s attorney responds to the April

       24, 2019 letter. (Dkt. 17-10.) This letter references the settlement offer from

       the Government and disputes ASIC’s position not to provide coverage. (Id.)

From the allegations in the pleadings and the attached exhibits, the Court can find

that IMEG engaged in settlement discussions with the Government and eventually

entered into a settlement agreement without prior approval from ASIC. Nowhere in

the pleadings and exhibits do the parties provide a copy of the settlement offer. Nor

do the pleadings support that IMEG received non-monetary demands for information

as a result of an investigation by the Government.

       Because the Court cannot find any support in the pleadings that IMEG

received non-monetary demands for information from the Government, the Federal

Disclosure cannot be an Organization Claim. But even though a copy of the

Settlement is not in the pleadings, it is clear from the pleadings and the

correspondence between the parties that such a settlement offer existed and was

eventually finalized. IMEG informed ASIC of the settlement offer. ASIC then

acknowledged that a settlement offer existed when it repeatedly refused to provide




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coverage for the Settlement. A settlement offer is undisputably a written demand for

monetary relief under the definition of an Organization Claim.9 As to the Federal

Disclosure, therefore, IMEG has shown that it received a written demand for

monetary relief to support its position that it is entitled to coverage as an

Organization Claim.

                     (c)    The Demand was Made Against IMEG, Not TTG.

       But the Court cannot stop its Organization Claim analysis there. To be entitled

to coverage under the 2017 Policy, IMEG must meet the remaining terms of an

Organization Claim. To repeat, an Organization Claim is a “written demand for

monetary . . . relief . . . against the Organization for a Wrongful Act.” (Dkt. 1-2 at 80.)

The 2017 Policy defines “Organization” as IMEG and its Subsidiaries. (Dkt. 1-2 at

64–65.) A Subsidiary is any entity over which IMEG has Management Control, and

Management Control means owning over 50% of the voting power to select the Board

of Directors. (Id.) The parties dispute whether the “Organization” element is met.

       ASIC argues that any demand for relief was not made against an

“Organization” under the terms of the 2017 Policy. ASIC contends that a demand for

relief involved conduct by TTG, which was not an entity over which IMEG had

Management Control and therefore not an Organization; thus, ASIC is not obligated



   9 To the extent ASIC argues that a settlement offer is not a “demand” but instead reflects

the “consummation of a process and discussions” between IMEG and the Government, the
Court disagrees. (See Dkt. 32 at 5.) The undisputed facts show that IMEG received a
settlement offer for $5.27 million from the Government, which this Court considers a demand
for monetary relief from the Government to IMEG. See, e.g., First Horizon Nat’l Corp. v. Hous.
Cas. Co., No. 15-cv-2235, 2017 WL 2954716, at *13 (W.D. Tenn. June 23, 2017), aff’d, 742
Fed. App’x 905 (6th Cir. 2018) (interpreting a settlement offer from the Department of Justice
as a “demand for monetary relief” under an insurance policy).


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to provide coverage. (Dkt. 32 at 8–11.) IMEG maintains that it did have Management

Control over TTG, thus making TTG an Organization for purposes of an Organization

Claim. (Dkt. 37 at 4–6.)

      But whether IMEG had Management Control over TTG, and whether TTG is

an Organization, is irrelevant. This is because an Organization Claim as defined in

the 2017 Policy is a demand for monetary relief “against the Organization for a

Wrongful Act.” As the Court has discussed, the Settlement was a demand for

monetary relief. But the Settlement was not made against TTG. It was made against

IMEG, as IMEG points out. (Dkt. 29 at 15.) The undisputed evidence shows that

IMEG conducted internal investigations, IMEG made the Federal Disclosure, and

IMEG received the settlement offer from the Government. The Government did not

make any demand against TTG. Rather, the Government made a written demand for

monetary relief (the Settlement) to IMEG (an Organization) for a Wrongful Act (the

Scheme). The Settlement that resulted from the Federal Disclosure thus meets the

definition of an Organization Claim. As an Organization Claim, therefore, the Federal

Disclosure is a Claim. Accordingly, the Court denies ASIC’s motion for judgment on

Counterclaim III as to the Federal Disclosure because it is a Claim under the 2017

Policy.

      C.     Count VI of the Counterclaim: The Settlement Is an Uninsurable
             and Uncovered Loss.

      In Count VI of its Counterclaim, ASIC argues that it does not owe coverage to

IMEG to the extent the Settlement “involve[s] civil or criminal fines or penalties,

disgorgement, liquidated damages, punitive damages, or otherwise uninsurable



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damages that do not constitute covered or insurable Loss” under the 2017 Policy.

(Dkt. 17 ¶ 98.)

       Under the terms of the 2017 Policy, ASIC will pay Loss for any Organization

Claim made against the Organization during the Policy Period for a Wrongful Act.

(Dkt. 1-2 at 76.) “Loss” includes monetary damages, judgments, settlements, and

interest. (Id. at 79.) “Loss” does not include civil or criminal fines or penalties, taxes

or tax penalties, or any other amount not insurable under the law. (Id. at 79–80.)

ASIC argues that coverage of the Settlement “represents the return of money IMEG

wrongfully and fraudulently obtained from the Government through false pretenses,”

which is uninsurable under Illinois law. (Dkt. 27 at 22.) IMEG responds that ASIC is

improperly raising this “Loss” argument for the first time in an improper attempt to

“mend the hold.” (Dkt. 33 at 14–15.) In the alternative, IMEG argues that the

Settlement is covered Loss, because it “is not repayment of wrongfully obtained

money as IMEG did not obtain anything as a result of [the Scheme].”10 (Id. at 15–18.)

       IMEG’s “mend the hold” argument does not apply here. Under Illinois law, the

“mend the hold” doctrine “forbids the defendant in a breach of contract suit . . . to

change its defenses . . . without a good reason to do so.” Ryerson Inc. v. Fed. Ins. Co.,



   10 IMEG advances a third argument: this Court should find IMEG to be an “innocent co-

insured” that is entitled to coverage under the innocent co-insured doctrine. (Dkt. 33 at 17.)
Under that doctrine, according to IMEG, if one insured party commits an intentional harm,
insurance coverage is suspended as to that party but not as to any innocent co-insured party.
(Id.) IMEG does not argue, nor can this Court find, that TTG is a “co-insured party” under
the 2017 Policy. Accordingly, this doctrine cannot apply. Furthermore, the cases IMEG cites
(of which only one is within this District) interpret insurance contract language providing for
this doctrine. IMEG does not present any language within the 2017 Policy that authorizes
the co-insured doctrine. For these two reasons, the Court will not consider IMEG’s co-insured
doctrine argument.


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676 F.3d 610, 614 (7th Cir. 2012). But this forbiddance does not prohibit the

defendant from adding a defense after a lawsuit commences. Id. (mend the hold

doctrine “does not confine [a defendant] to the defense (or defenses) that he

announced before the suit”); Hoogenboom v. Trs. of Allied Servs. Div. Welfare Fund,

593 F. Supp. 3d 826, 834 (N.D. Ill. Mar. 24, 2022). Such is the case here. ASIC’s Loss

argument is not a change to its defense, but merely an additional defense ASIC raises.

And ASIC expressly reserved its right to exert additional defenses to the extent the

Federal Disclosure involved “uninsurable damages that do not constitute covered or

insurable Loss.” (Dkt. 1-2 at 135.) ASIC is thus permitted to move forward with its

Loss argument.

       As to IMEG’s argument that the Settlement constitutes covered Loss, it is

undisputed that the return of money wrongfully and fraudulently obtained through

false pretenses is uninsurable under the terms of the 2017 Policy. (See Dkt. 33 at 14–

18; Dkt. 27 at 22–23.) Nor do the parties dispute that the Settlement is a repayment

of fraudulently obtained money. (See Dkt. 33 at 17.) Rather, the parties dispute

whether this uninsurable loss can be imputed to IMEG when TTG, not IMEG, was

the entity that fraudulently obtained money by operating the Scheme.

       IMEG maintains that the Settlement cannot be uninsurable Loss as to itself

because all wrongfully obtained money was obtained by TTG. It is true that TTG

wrongfully obtained money from the Scheme. It is also true, however, that Illinois

law has long held that “a corporation that purchases the assets of another corporation

is not liable for the debts or liabilities of the transferor corporation . . . .[unless] the




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transaction amounts to a consolidation or merger of the purchaser or seller

corporation.” Vernon v. Schuster, 688 N.E.2d 1172, 1165 (Ill. 1997); see also Synergy

Global Outsourcing, LLC v. Sagility Operations Inc., No. 21 C 5652, 2024 WL

3757081, at *5 (N.D. Ill. Aug. 9, 2024); People ex rel. Dep’t of Human Rights v.

Oakridge Healthcare Ctr., LLC, 181 N.E.3d 184, 192 (Ill. 2020). As the undisputed

facts in this case show, the “merger” exception applies. TTG merged into IMEG as of

January 1, 2017. (See Dkt. 22 ¶ 2; Dkt. 24-2 at 6.) As a result of that merger, IMEG

inherited responsibility for TTG’s assets, obligations, and liabilities—including any

liability to pay for money TTG fraudulently acquired. Accordingly, the Settlement

that resulted from the Scheme represents a return of fraudulently obtained funds for

which IMEG is liable under the 2017 Policy. Because the Settlement is an

uninsurable Loss under the 2017 Policy, IMEG is not entitled to coverage from ASIC.

Accordingly, ASIC is entitled to judgment as to Count VI of its counterclaim.

      D.     Count I of the Counterclaim: The Warranty Letter Excludes
             Claims Arising from the Scheme.

      Even if the Settlement was an insurable Loss, ASIC argues in Count I of the

counterclaim that an exclusion to coverage applies because IMEG signed the

Warranty Letter. See OneBeacon Am. Ins. Co. v. City of Zion, 119 F. Supp. 3d 821,

833 (first quoting Addison Ins. Co. v. Fay, 905 N.E.2d 747, 752 (Ill. 2009); and then

quoting Atl. Mut. Ins. Co., 734 N.E.2d 50, 56 (Ill. App. Ct. 2000)) (“Once the insured

has demonstrated coverage, the burden then shifts to the insurer to prove that a

limitation or exclusion applies. . . . Where the insurer relies on a provision that it

contends excludes coverage, . . . [the Court] review[s] the applicability of the



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provision to ensure it is ‘clear and free from doubt’ that the policy’s exclusion prevents

coverage.”). ASIC thus seeks a declaration that coverage of any potential claims

related to the Scheme is precluded by the Warranty Letter. (Dkt. 27 at 13–19.)

       The Warranty Letter excludes from coverage circumstances that “they [IMEG]

have reason to believe may or could reasonably be foreseen to give rise to a claim that

may fall within the scope of the [2017] Policy.” (Dkt. 17-12.) As a result, the 2017

Policy excludes from coverage circumstances that IMEG subjectively knew could

form the basis of a claim and those that objectively could reasonably be expected to

form the basis of a claim.

       IMEG signed the Warranty Letter on September 27, 2017. (Dkt. 17-12.) Fewer

than two months later, on November 12, 2017, IMEG made the Federal Disclosure.

(Dkt. 24-1.) IMEG disclosed the following undisputed facts in the Federal Disclosure.

In late 2016, before IMEG executed the Warranty Letter, IMEG had begun

investigating the Scheme. (Dkt. 22 ¶ 16; Dkt. 24-1 at 3.) IMEG then conducted its

own internal investigation and identified potential violations. (Dkt. 24-1 at 3.) IMEG

also retained outside counsel, who presented a report in June 2017 agreeing that

potential violations had occurred and that further investigation was warranted. (Dkt.

24-1 at 3.) IMEG retained a second law firm to assess these findings of potential

violations, after which IMEG “determined that violations did occur.” (Id.) Upon this

determination, IMEG hired a third law firm to conduct an internal investigation.

(Id.) That investigation was eventually completed in May 2018. (Dkt. 24-2.) At this

time, IMEG had also terminated Sunil Patel, allegedly for his role in the Scheme.

(Dkt. 22 ¶¶ 17, 54.) IMEG signed the Warranty Letter on September 27, 2017; made


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the Federal Disclosure on November 12, 2017; and sent notice of the Federal

Disclosure to ASIC on November 21, 2017. (See Dkt. 50 at 5–9.)

      Based on this timing, ASIC contends that, when IMEG executed the Warranty

Letter, IMEG knew of the Scheme. (Dkt. 27 at 13.) IMEG thus had, or should have

had, reason to believe the Scheme could give rise to a claim under the 2017 Policy.

(Id.) As a consequence, according to ASIC, any claims arising out of the Scheme are

excluded from coverage. (Id. at 15.)

      IMEG maintains that the Warranty Letter cannot preclude coverage under

the 2017 Policy because IMEG “did not have knowledge that the Federal Government

would hold it liable for [the Scheme].” (Dkt. 33 at 4.) IMEG adds that it could not

have known that the Government would hold IMEG responsible for TTG’s actions.

(Id. at 6.) At the very least, IMEG argues, additional discovery is necessary to

determine IMEG’s knowledge. (Id. at 11–12.) IMEG also maintains that, because

ASIC did not initiate a declaratory judgment action in a timely manner, ASIC should

be estopped to make this argument. (Id. at 5.) Finally, IMEG argues that, because

ASIC did not raise this misrepresentation issue until it denied IMEG’s claim in 2019,

ASIC’s belief that IMEG made a misrepresentation on the Warranty Letter is not an

appropriate argument. (Id. at 10–11.)

      As the insurer, ASIC has the burden of proving that an exclusion to coverage

under the 2017 Policy applies. See Santa’s Best Crafts, LLC v. St. Paul Fire & Marine

Ins. Co., 611 F.3d 339, 347 (7th Cir. 2010) (citing Ins. Corp. of Hanover v. Shelborne

Assocs., 905 N.E.2d 976, 982 (Ill. App. Ct. 2009)). It must be “clear and free from

doubt” that the policy’s exclusion prevents coverage. St. Paul Fire & Marine Ins. Co.


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v. Antel Corp., 899 N.E.2d 1167, 1174 (Ill. App. Ct. 2008). In this instance, regardless

of IMEG’s subjective inability to know that the Government would make a settlement

demand, ASIC has shown that the Warranty Letter excludes coverage for the Scheme

under the 2017 Policy.

      IMEG argues that it did not know that the Federal Disclosure would lead to

the Settlement for which it contends IMEG should be responsible. It may be true that

IMEG subjectively believes this, but IMEG’s subjective belief is not relevant. Both

Illinois law and the Warranty Letter mandate an objective standard in determining

an insured party’s knowledge of a potential claim. (Dkt. 17-12 at 2 (“No individual or

entity . . . is aware of any claim that may fall within the scope of the Policy

or . . . which they have reason to believe may or could reasonably be foreseen to give

rise to a claim . . . .”).) See Cardenas v. Twin City Fire Ins. Co., No. 13 C 8236, 2014

WL 4699670, at *5 (N.D. Ill. Sept. 19, 2014) (applying an objective knowledge test to

determine whether an exclusion to coverage applies); Minn. Laws. Mutual Ins. Co. v.

Schulman, No. 14-cv-50142, 2016 WL 4988006, at *11 (N.D. Ill. Sept. 19, 2016)

(insured’s subjective belief that no claim existed irrelevant because objective

standard applies); Smith v. Neumann, 682 N.E.2d 1245, 1254 (Ill. App. Ct. 1997) (“an

objective standard should apply in determining whether [the insured party] had a

basis to believe that his [wrongful acts] might result in a claim”); St. Paul

Reinsurance Co. v. Williams & Montgomery, Ltd., No. 00 C 5037, 2001 WL 1242891,

at *6 (N.D. Ill. Oct. 17, 2001) (same); Ratcliffe v. Int’l Surplus Lines Ins. Co., 550

N.E.2d 1052 (Ill. App. Ct. 1990) (same); Evanston Ins. Co. v. Security Assurance Co.

(Evanston), 715 F. Supp. 1405 (N.D. Ill. 1989) (same).


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      Applying an objective standard, IMEG knew or should have known that the

Scheme could have risen to a Claim eligible for coverage under the 2017 Policy. IMEG

does not dispute that it learned of the Scheme in 2016, hired several teams of outside

counsel to conduct internal investigations in early 2017, received investigation

reports suggesting violations had occurred in mid-2017, and engaged in internal

discussions throughout 2017. Nor does IMEG dispute that it signed the Warranty

Letter on September 27, 2017, in which it assured ASIC that it was not aware of any

potential claim. From an objective standpoint, there can be no doubt that, when

IMEG signed the Warranty Letter and then later signed the 2017 Policy, IMEG knew

of and was actively investigating the Scheme.

      IMEG argues that it did not know it could be liable for TTG’s wrongful acts,

but that argument fails. IMEG itself contacted the Government to disclose the

Scheme, and in that Federal Disclosure, IMEG revealed that TTG would soon be

dissolving. (See Dkt. 24-1 at 2–4.) IMEG cannot now argue that it is surprised that

it would be held responsible for TTG’s actions. In any event, recall the very broad

language in the Warranty Letter, which refers to circumstances that “may fall within

the scope of the Policy” and for which IMEG could have “reason to believe may or

could reasonably be foreseen to give rise to a claim that may fall within the scope of

the Policy[.]” (Dkt. 17-12) (emphasis added). Nothing in that open-ended language

supports IMEG’s present expressions of surprise or disclaimers of knowledge. Put

another way, any reasonable entity with IMEG’s level of business sophistication

would have known that the Scheme had to be disclosed to an insurer. Accordingly,

under the undisputed facts of this case, IMEG cannot reasonably assert that it lacked


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knowledge of the Scheme or was justifiably unaware that it should have been

disclosed in the Warranty Letter.11

      IMEG’s procedural arguments also fail. IMEG first argues that ASIC must be

estopped to rely on the Warranty Letter to deny coverage. (Dkt. 33 at 9–10.) As the

parties agree, however, estoppel is only appropriate if the insurer has breached its

duty to defend. (See Dkt. 32 at 12–13; Dkt. 36 at 6; Dkt. 37 at 8–9.) As there has yet

been no holding that ASIC breached its duty to defend IMEG, ASIC is not estopped

to make an argument based on the Warranty Letter. See Lemko Corp. v. Fed. Ins.

Co., 70 F. Supp. 3d 905, 913 (N.D. Ill. Sept. 30, 2014).

      IMEG also argues that ASIC has waived its right to assert its Warranty Letter

argument because ASIC did not “promptly exercise its right of recession [sic].” (Dkt.

33 at 10.) This argument, however, misconstrues ASIC’s contention: that the

Warranty Letter provided a substantive basis to deny coverage. ASIC may therefore

proceed with its Warranty Letter argument.

      Because IMEG breached the Warranty Letter by failing to reasonably inform

ASIC of the facts of the Scheme at the time it signed the Warranty Letter, any claims

arising out of the Scheme are excluded from coverage under the 2017 Policy.

Accordingly, the Court enters judgment on the pleadings in ASIC’s favor as to Count

I of its Counterclaim.




   11 Because IMEG’s subjective awareness of a potential claim is irrelevant, so too is any

discovery IMEG requests to uncover its knowledge. (See Dkt. 33 at 11–12.)


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      E.     Counts I and II of the Complaint: ASIC Does Not Have a Duty to
             Defend or a Duty to Indemnify.

      IMEG seeks judgment on the pleadings for Counts I and II of the complaint.

(Dkt. 28.) As to Count I, IMEG seeks a declaration that ASIC owes IMEG a duty to

defend against any claim arising out of the Scheme, and that ASIC breached that

duty. (Dkt. 1-2 ¶¶ 32–38.) In Count II, IMEG seeks the same declaration, but for the

duty to indemnify. (Id. ¶¶ 39–45.)

      Under Illinois law, an insurer is obligated to defend its insured if any portion

of the underlying complaint potentially falls within the scope of the policy’s coverage.

See Health Care Indus. Liab. Ins. Program v. Momence Meadows Nursing Ctr., Inc.,

566 F.3d 689, 694 (7th Cir. 2009); Lyerla v. AMCO Ins. Co., 536 F.3d 684, 688 (7th

Cir. 2008). The duty to defend is broader than the duty to indemnify. Lyerla, 536 F.3d

at 688. If an insurer has no duty to defend, it therefore also has no duty to indemnify.

Nat’l Cas. Co. v. McFatridge, 604 F.3d 335, 338 (7th Cir. 2010).

      As explained above, the California Disclosure is not a Claim, the Settlement

is uninsurable Loss, and the Warranty Letter excludes any coverage under the 2017

Policy for claims arising out of the Scheme. Accordingly, for these three reasons,

ASIC has neither a duty to defend nor a duty to indemnify IMEG for any claim

arising under either Disclosure. IMEG’s motion for judgment on the pleadings as to

Counts I and II is therefore denied.

      F.     Count III of the Complaint: ASIC Is Not Estopped to Make
             Policy Arguments.

      Count III of IMEG’s complaint argues that ASIC must be estopped to make

policy defenses to coverage because ASIC has allegedly breached its duty to defend


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and indemnify IMEG. (Dkt. 1-2 ¶¶ 46–49.) IMEG asks the Court to enter judgment

for IMEG as to Count III.

      These estoppel arguments, however, need not be addressed, as the doctrine of

estoppel only applies if the insurer has breached its duty to defend. Cardenas, 2014

WL 4699760, at *6 (citing Am. Safety Cas. Ins. Co. v. City of Waukegan, 678 F.3d 475,

485 (7th Cir. 2012)); see also Lemko Corp., 70 F. Supp. 3d at 913. Because ASIC has

not breached its duty to defend, ASIC is not estopped to assert policy defenses.

Accordingly, the Court denies IMEG’s motion for judgment on the pleadings as to

Count III.

      G.     Counts II, IV, V, and VII of the Counterclaim Are Dismissed as
             Moot.

      ASIC’s counterclaim also includes several additional Counts: (1) Count II,

which seeks a declaration that IMEG’s failure to get ASIC’s consent to sign the

Settlement precludes coverage; (2) Count IV, which seeks a declaration that TTG is

not an Organization; (3) Count V, which seeks a declaration that ASIC does not owe

coverage because the Wrongful Acts were committed outside of the Policy Period; and

(4) Count VII, which argues that ASIC is entitled to an allocation. (Dkt. 17 ¶¶ 58–68,

77–95, 99–101.) ASIC does not, however, move for judgment on the pleadings as to

these four counterclaims. But this Court has found that IMEG is not entitled to

coverage from ASIC under the 2017 Policy. Resolution of these counterclaims would

therefore not affect or change the Court’s holding. Accordingly, these remaining four

counterclaims are dismissed as moot.




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IV.   CONCLUSION

      For the foregoing reasons, IMEG’s motion for judgment on the pleadings (Dkt.

28) is denied in its entirety. ASIC’s motion for judgment on the pleadings (Dkt. 26) is

granted as to Counts I, VI, and VIII. ASIC’s motion for judgment on the pleadings is

granted in part and denied in part as to Count III (granted as to the California

Disclosure but denied as to the Federal Disclosure). ASIC’s remaining counterclaims

(Counts II, IV, V, and VII) are dismissed as moot. IMEG is not entitled to coverage

from ASIC under the 2017 Policy for any Claims arising out of the California

Disclosure or Federal Disclosure.

SO ORDERED in No. 20-cv-03316.

Date: March 31, 2025
                                               JOHN F. KNESS
                                               United States District Judge




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